                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                           DOCKET NO. 5:03CR51-RLV
                                     5:12CV177-RLV


UNITED STATES OF AMERICA         )
                                 )                        AMENDED
            vs.                  )                     SCHEDULING ORDER
                                 )
                                 )
ALVIN DWIGHT FAIR                )
                                 )
           Defendant.            )
________________________________)


      THIS MATTER is before the Court on an Order (Doc. No. 192 ) granting

Defendant’s Motion To Vacate, Set Aside, or Correct Sentence under 28 U.S.C. §

2255, (Doc. No. 3) in case 5:12CV177, filed November 16, 2012.

      IT IS, THEREFORE, ORDERED that:

      The North Carolina Department of Corrections (NCDOC) and the United States

Marshals Service is hereby ORDERED to transport and produce the body of ALVIN

DWIGHT FAIR(NCDOC#: 0601649), for re-sentencing on September 2, 2014, at 2 PM,

before the Honorable Richard L. Voorhees, in the Western District of North Carolina,

Statesville Courthouse, 200 West Broad Street, 2nd Floor Courtroom, Statesville, North

Carolina, not later than August 15, 2014, and upon completion of the re-sentencing

hearing, Defendant is to be returned to the custody of the DCDOC.

      The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States

Probation Office.




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      IT IS SO ORDERED.




Signed: June 30, 2014




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